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10
                                     UNITED STATES DISTRICT COURT
11                                 NORTHERN DISTRICT OF CALIFORNIA

12   JOHN DOE 1 AND JOHN DOE 2, in their                       Case No.:
     individual capacity and on behalf of all others
13
     similarly situated,                                       CLASS ACTION COMPLAINT
14
              Plaintiffs,                                      JURY TRIAL DEMANDED
15
              v.
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17   META PLATFORMS, INC.,

18            Defendant.

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             Plaintiffs, John Doe 1 and 2, in their individual capacity and on behalf of the other members of the
20
     below-defined nationwide and statewide classes seek to represent (collectively, the “Class”), hereby
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     allege against Defendant Meta Platforms, Inc. (“Meta” or “Facebook” or “Defendant”), upon personal
22
     knowledge as to themselves and their own acts, and as to all other matters upon information and belief
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     and based upon the investigation made by the undersigned attorneys, as follows:
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                                             NATURE OF THE CASE
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        1.           Meta, and its previous iteration, Facebook, have been the subject of repeated investigations
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     into their data-mining practices and use of personal information of unsuspecting users. So much so that
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 1   lawmakers in the United States Congress have sought (and taken) testimony from its CEO Mark

 2   Zuckerberg, on various topics including Meta’s privacy protections, over multiple days.

 3      2.         This litigation involves one of the most egregious misuses of private and protected health

 4   information for corporate gains by one of the world’s largest social platforms.

 5      3.         A patient’s communications with medical providers are protected for a multitude of

 6   reasons. Some theorize that privacy is a basic human right with intrinsic value. Others take a practical

 7   view: if health information were not protected, patients would not seek treatment. Regardless of one’s

 8   view on why personal health information is private, all agree that it is private. Except, apparently, Meta.

 9      4.         Meta collects data through many mechanisms, one of which is through its “Meta Pixel.”

10      5.         Generally speaking, a “pixel” is a piece of software code used by website owners/hosts to

11   monitor activity on their websites. Ostensibly, the data is then utilized by the website owner/host to

12   improve website performance and potentially bring in new customers. The information can and often is

13   also used to determine the efficacy of advertising – whether new customers are coming to the website.

14      6.         Like other pixels, Meta Pixel is code embedded within a vast number of websites; indeed,

15   it is believed that the Meta Pixel is embedded within multiple millions of websites – largely retail and/or

16   customer service websites – where it has been in use for a decade or more.

17      7.         In addition to tracking user information purportedly used to improve website functionality,

18   these retail data sources allow Meta to track the online actions of individuals, including shopping trends

19   and purchase history, search and other browser information, and what websites an individual user visits,

20   how often they visit, what they click on a given website, and any information input into the website.

21      8.         Meta consolidates the information on an individual level and uses this information to sell

22   its targeted advertising options for a profit – more than 95% of Meta’s profits are from advertising

23   revenue.

24      9.         What was unknown until recent disclosure was Meta Pixel’s presence in both public

25   healthcare provider websites and private, patient portals of healthcare providers that require login.

26      10.        Meta Pixel, in both healthcare sources, gathers private information (IP address, email, and

27   name, at a minimum), but the patient portal Pixel garners even more personal information – appointment

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                                            CLASS ACTION COMPLAINT
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 1   information, treating provider information, and potentially even diagnoses-related information from text

 2   box entries.

 3      11.         In other words, Meta Pixel purposefully gathers, unbeknownst to patients and without

 4   permission or authority, protected health information and individually identifiable health information.

 5      12.         In addition, Meta’s (formerly known as Facebook) terms and conditions contained

 6   language promising its users that Facebook “require[s]” other websites to have the “lawful rights to

 7   collect, use, and share your data before providing any to us” through the Meta Pixel. Despite that

 8   healthcare providers may have the right to collect data from patients, these providers do not and cannot

 9   verify that they have unfettered authority to share the personal health information of patients with third

10   parties, like Meta.

11      13.         Aware that it was collecting personal health information, Meta ignored the requirements

12   of the Health Insurance Portability and Accountability Act (“HIPAA”) and continued to gather this

13   personal health information without proper authorization, then used it for its own benefit, in violation of

14   its agreements with Meta platform users.

15      14.         This collection of personal health information was received by Meta and stored for use in

16   selling targeted advertising efforts to Meta’s paying customers. These practices were occurring on and

17   through the websites and patient portals of healthcare providers all across the country, including those

18   visited by Plaintiffs, John Doe 1 and 2, and members of the Class.

19      15.         For example, John Doe 1 is a patient of Novant Health, a North Carolina healthcare

20   provider (“Novant”). John Doe 1’s wife, Jane Doe, created a patient portal login, called “MyChart,” a

21   repository for the entire family’s health information, including John Doe 1 and their minor children.

22      16.         John Doe 1 has an uncommon health diagnosis for which he sought and received treatment

23   at Novant. His personal health information, through Meta Pixel’s presence in Novant’s MyChart system,

24   gathered John Doe 1’s diagnosis information so that targeted advertising relating to his diagnosis

25   appeared in his Facebook newsfeed. Neither Jane nor John Doe 1 was aware that Novant had placed Meta

26   Pixel on the website, which allowed Meta to gather protected health information and personally

27   identifiable information for the company’s corporate gains.

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 1                                                 PARTIES

 2      17.       Plaintiff John Doe 1 is a resident of Charlotte, North Carolina, in Mecklenburg County.

 3      18.       Plaintiff John Doe 1 is a Meta platform user and patient of Novant whose personal health

 4   information was contained on Novant’s MyChart system. Plaintiff John Doe 1’s health information was

 5   a part of the MyChart system during the time that Meta Pixel was embedded within the portal.

 6      19.       By letter dated August 12, 2022, Jane Doe, Plaintiff John Doe 1’s wife, was advised that

 7   the MyChart portal through which she accessed the entire family’s health information and scheduled care

 8   appointments, including John Doe 1’s information, was automatically transmitted to Meta.

 9      20.       As a result, Plaintiff John Doe 1 received unsolicited, targeted advertisements specifically

10   referencing his personal health information available on Novant’s MyChart patient portal.

11      21.       Plaintiff John Doe 2 is a resident of Raleigh, North Carolina, in Wake County.

12      22.       Plaintiff John Doe 2 is a Meta platform user and patient of WakeMed whose personal health

13   information was contained in WakeMed’s patient portal, “MyChart” during the time that Meta Pixel was

14   embedded within the portal.

15      23.       By letter on or about October 11, 2022, Plaintiff John Doe 2 was advised that the MyChart

16   portal through which John Doe 2 had access to and did view his personal health information, including

17   using the patient portal for scheduling, text entries, physician searches, and other health-related

18   information, was automatically transmitted to Meta.

19      24.       As a result, Plaintiff John Doe 2 received unsolicited, targeted advertisements on his

20   Facebook account specifically referencing his personal health information available on WakeMed’s

21   MyChart patient portal.

22      25.       Defendant Meta Platforms, Inc., formerly known as Facebook, Inc. (“Meta” or

23   “Facebook”), is incorporated in Delaware with its principal place of business at 1 Hacker Way, Menlo

24   Park, California 94025 in San Mateo County.

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 1       26.       Facebook announced it changed its name to Meta in October of 2021. The change was

 2   effectuated through a name change rather than creation of a separate legal entity and merger. Meaning,

 3   therefore, Meta is Facebook and successor liability is not at issue. 1

 4                                          JURISDICTION AND VENUE

 5       27.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)

 6   because the amount in controversy, exclusive of costs and interest, exceeds a sum or value of $5,000,000,

 7   there are more than 100 members in the proposed Class, and a member of the Class is a citizen of a

 8   different state than Defendant Meta.

 9       28.       Subject matter jurisdiction also exists in this Court pursuant to 28 U.S.C. § 1331 over the

10   Federal Wiretap Act claim in this action, 18 U.S.C. § 2510, et seq.

11       29.       Supplemental jurisdiction exists over the state law claims in this action pursuant to 28

12   U.S.C. § 1367 because the state law claims form part of the same case or controversy as the federal claim

13   over which this Court has original jurisdiction.

14       30.       Personal jurisdiction exists over Meta because its principal place of business is located

15   within the State of California, it has continuous and systematic business contacts with the State of

16   California, and because a substantial part of the events and conduct giving rise to the claims herein

17   occurred within the State of California.

18       31.       Venus is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial part of the

19   events or omissions giving rise to the claim occurred, Meta is a resident of this District, and Facebook’s

20   Terms 2 include a venue selection provision requiring claims be brought in this Court.

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24   1
       The Delaware Secretary of State: Division of Corporations lists Meta Platform, Inc.’s date of
25   incorporation as July 29, 2004, which is the date of TheFacebook, Inc.’s original incorporation.
     TheFacebook, Inc. executed a name change to Facebook, Inc. in 2005.
26   2
       Some documents and websites discussed herein refer to Facebook rather than Meta because they were
     created prior to the name change. Others, like those documents specifically referencing the Facebook
27   platform, have retained that name after the name change. For clarity, the name in a particular article,
28   website, or document is retained throughout this Complaint. Because, however, the change from
     Facebook to Meta was in name only, both names are the same legal entity.
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 1                                          DIVISIONAL ASSIGNMENT

 2         32.       Assignment is proper to the San Francisco Division of this District under Local Rule 3-

 3   2(c)-(e), because Meta is headquartered in San Mateo County, where a substantial part of the events

 4   giving rise to Plaintiffs’ claims occurred.

 5                         FACTS COMMON TO THE CLASS AND ALL COUNTS

 6        I.      Federal Protection of Personal Health Information and Individually Identifiable

 7                Information

 8         33.       When passing HIPAA, enacted in 1996, Congress acknowledged “The provision of high-

 9   quality health care requires the exchange of personal, often-sensitive information between an individual

10   and a skilled practitioner. Vital to that interaction is the patient's ability to trust that the information shared

11   will be protected and kept confidential.” 3 And further recognized that “Privacy is a fundamental right.”4

12         34.       HIPAA protections were put in place, at least in part, because of a recognition that advances

13   in the use of electronically stored information caused concern for patients when it came to protecting

14   their personal health information. These rights were so important that, despite a comment requesting

15   delayed implementation, Congress declined, responding “adopting national standards to protect the

16   privacy of individually identifiable health information is an urgent national priority.” 5

17         35.       To effectuate these protections, HIPAA’s Privacy Rule, located at 45 C.F.R. Part 160,

18   restricts a provider’s ability to use or disclose the protected health information of patients and provides

19   certain rights to patients relating to their records.

20         36.       Under 45 C.F.R. § 164.502, a health care provider or business associate of a health care

21   provider “may not use or disclose ‘protected health information’ except as permitted or required

22   by” the HIPAA Privacy Rule.

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         Standards for Privacy of Individually Identifiable Health Information, 65 FR 82462-01.
26
     4
27       Id.
     5
28       Id.

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 1      37.        Under 45 C.F.R. 160.103, the Privacy Rule defines “protected health information” or PHI

 2   as “individually identifiable health information” that is “transmitted by electronic media; maintained in

 3   electronic media; or transmitted or maintained in any other form or medium.”

 4      38.        Under 45 C.F.R. § 160.103, the Privacy Rule defines “individually identifiable health

 5   information” as “a subset of health information, including demographic information collected from an

 6   individual” that is (1) “created or received by a health care provider;” (2) “[r]elates to the past,

 7   present, or future physical or mental health or condition of an individual; the provision of health care to

 8   an individual; or the past, present, or future payment for the provision of health care to an individual;”

 9   and (3) either (a) identifies the individual; or (b) with respect to which there is a reasonable basis to

10   believe the information can be used to identify the individual.”

11      39.        Under 45 C.F.R. § 164.514, the HIPAA de-identification rule states that “health

12   information is not individually identifiable only if” (1) an expert “determines that the risk is very small

13   that the information could be used, alone or in combination with other reasonably available information,

14   by an anticipated recipient to identify an individual who is a subject of the information” and

15   “documents the methods and results of the analysis that justify such determination” or (2) “the

16   following identifiers of the individual or of relatives, employers, or household members of the

17   individual are removed: Names … Medical record numbers; … Account numbers … Device identifiers

18   and serial numbers; … Web Universal Resource Locators (URLs); Internet Protocol (IP) address

19   numbers; … and any other unique identifying number, characteristic, or code.” In addition, the covered

20   entity must not “have actual knowledge that the information could be used alone or in combination with

21   other information to identify an individual who is a subject of the information.”

22      40.        Under 42 U.S.C. § 1320d-6, any “person [individual … or a corporation] who

23   knowingly and in violation of this part—(1) uses or causes to be used a unique health identifiers; [or]

24   (2) obtains individually identifiable health information relating to an individual … shall be punished”

25   by fine or, in certain circumstances, imprisonment, with increased penalties for “intent to sell, transfer,

26   or use individually identifiable health information for commercial advantage[.]” The statute further

27   provides that a “person … shall be considered to have obtained or disclosed individually identifiable

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 1   health information … if the information is maintained by a covered entity … and the individual obtained

 2   or disclosed such information without authorization.”

 3         41.       Guidance from HHS instructs health care providers that patient status is protected by

 4   HIPAA. In Guidance Regarding Methods for De-identification of Protected Health Information in

 5   Accordance with the Health Insurance Portability and Accountability Act (HIPAA) Privacy Rule,

 6   HHS sets out:

 7                   Identifying information alone, such as personal names, residential
                     addresses, or phone numbers, would not necessarily be designated as PHI.
 8                   For instance, if such information was reported as part of a publicly
                     accessible data source, such as a phone book, then this information would
 9                   not be PHI because it is not related to health data. … If such information
                     was listed with health condition, health care provision or payment data,
10                   such as an indication that the individual was treated at a certain clinic,
                     then this information would be PHI. 6
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           42.       In its guidance for Marketing, HHS further instructs:
12
                     The HIPAA Privacy Rule gives individuals important controls over whether
13                   and how their protected health information is used and disclosed for
                     marketing purposes. With limited exceptions, the Rule requires an
14                   individual’s written authorization before a use or disclosure of his or her
                     protected health information can be made for marketing. … Simply put,
15                   a covered entity may not sell protected health information to a business
                     associate or any other third party for that party’s own purposes. Moreover,
16                   covered entities may not sell lists of patients to third parties without obtaining
                     authorization from each person on the list. 7
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           43.       HHS has previously instructed that HIPAA covers patient-status alone:
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                  a. “The sale of a patient list to a marketing firm” is not permitted under HIPAA. 65 Fed. Reg.
19
                     82717 (Dec. 28, 2000);
20
                  b. A covered entity must have the individual’s prior written authorization to use or disclose
21
                     protected health information for marketing communications,” which would include
22
                     disclosure of mere patient status through a patient list. 67 Fed. Reg. 53186 (Aug. 14, 2002);
23
                  c. It is a HIPAA violation “if a covered entity impermissibly disclosed a list of patient names,
24
                     addresses, and hospital identification numbers.” 78 Fed. Reg. 5642 (Jan. 25, 2013); and
25
                  d. Hospitals are only permitted to identify patient status without express written authorization
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27   6
              https://www.hhs.gov/sites/default/files/ocr/privacy/hipaa/understanding/coveredentities/De-
     identification/hhs_deid_guidance.pdf. At 5 (emphasis added).
28   7
         https://www.hhs.gov/sites/default/files/ocr/privacy/hipaa/understanding/coveredentities/marketing.pdf
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 1                  to “maintain a directory of individuals in its facility” that includes name, location, general

 2                  condition, and religious affiliation when used or disclosed to “members of the clergy”

 3                  or “other persons who ask for the individual by name.” 45 C.F.R. § 164.510(1). Even then,

 4                  patients must be provided an opportunity to object to the disclosure of the fact that they are

 5                  a patient in the facility. 45 C.F.R. § 164.510(2).

 6        44.       There is no HIPAA-exception or requirement for the Internet or online patient portals.

 7        45.       In light of federal law requiring its protection, Plaintiffs and the Class have a reasonable

 8   expectation of privacy in their personal health information and individually identifiable information.

 9       II.     Meta Breached Its Contract with Plaintiffs and the Class

10               a. Meta’s Promises to Users, Including Plaintiffs, and the Class

11        46.       Meta users on the Facebook platform have a binding, written contract with Meta. These

12   users’ binding contract with Meta includes the Meta Terms of Service and Meta Data Policy.

13        47.       Meta’s Terms of Service incorporates the Meta Data Policy.

14        48.       Meta states in its Terms of Service, “You can learn about how we collect and use your data

15   in our Data Policy.”

16        49.       Every Meta user on the Facebook platform is legally deemed to have agreed to the Terms,

17   Data Policy, and Cookie Policy via a checkbox on the sign-up page, and the Terms, Data Policy, and

18   Cookie Policy are binding upon Meta and its Facebook users.

19        50.       The Meta Data Policy, as of on or about April 19, 2018, 8 expressly provides that Meta

20   “requires” businesses that use the Meta Pixel “to have lawful rights to collect, use, and share your

21   data before providing any data to [Facebook].”

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28    Prior to the Data Policy change on or about this date, there was no mention of requiring, or even
     seeking, lawful rights to collect, use, or share any data.
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11       51.        Despite advising users, like Plaintiffs and the Class, that it requires the lawful right to

12   collect, use, and share data, Meta does not “require” medical providers to have lawful rights to share

13   patient data before gathering the information.

14               b. Meta’s Business Tool Language Does Not Satisfy the Promises to Users of Meta’s

15                  Social Media Platforms 9

16       52.        Instead of fulfilling this promise, Meta merely includes a provision in its form contract

17   creating an unenforced “honor system” for publishers, stating that, by using the Meta Business Tools, the

18   publisher “represent[s] and warrant[s] that [it has] provided robust and sufficient prominent notice to

19   users regarding the Business Tool Data collection, sharing, and usage.”

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       Meta Business Suite, a free tool utilized to manage advertising on Meta’s social media platforms,
26   purports to “centralize Facebook, Instagram, and messaging tools in one place” and allows advertisers to
     post on “both Facebook and Instagram without switching accounts.” Meta Business Suite,
27   https://www.facebook.com/business/tools/meta-business-suite. It is believed that, for this and other
28   reasons, targeted advertising is occurring across all of Meta’s social medial platforms, not solely
     Facebook.
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          53.        In reality, Meta does not verify that publishers have obtained adequate consent, as is
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     required by their agreement with users, including Plaintiffs and the Class.
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          54.        Instead, the Meta Pixel is available to any publisher willing to embed the code in their
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     website, whether private or not, and regardless of their privacy policies, consent processes, or the nature
14
     of their business – Defendant’s contract with healthcare providers does not even mention HIPAA.
15
                  c. How Meta Pixel Operates, Gathers Information, and is Profitable for Meta
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          55.        Meta maintains profiles on users of its social medial platforms that include users’ real
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     names, locations, email addresses, friends, locations, relationship status, likes, and communications,
18
     among other things, that Meta associates with personal identifiers including IP addresses, cookies, and
19
     device identifiers.
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          56.        Meta uses a variety of tracking tools, but one of its most powerful tools, particularly
21
     when it comes to Meta’s advertising revenue, is Meta Pixel (also known as Facebook Pixel), which
22
     launched in 2015.
23
          57.        In 2007, Meta began monetizing its platform by launching “Facebook Ads,” proclaiming
24
     it to be a “completely new way of advertising online” that would allow “advertisers to deliver more
25
     tailored and relevant ads.”10 Meta Pixel was touted as “a new way to report and optimize for conversions,
26

27   10
       Meta, Facebook Unveils Facebook Ads (Nov. 6, 2007), https://about.fb.com/news/2007/11/facebook-
28   unveils-facebook-ads/

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 1   build audiences and get rich insights about how people use your website.” 11

 2        58.      Meta offers several advertising options based on the type of audience the advertiser wants

 3   to target. A few options include targeting “Core Audiences,” “Custom Audiences,” “Look Alike

 4   Audiences,” and an even more granular approach within the audiences called “Detailed Targeting.”12

 5   As the website address indicates, each of Meta’s advertising tools are based on targeting users, called an

 6   “audience,” based on their personal data, including, among other things, geographic location,

 7   demographics (e.g., age, gender, education, job title, relationship status), interests (e.g., preferred foods,

 8   movies), connections (e.g., to a particular event or Facebook page), and behaviors (e.g., purchases,

 9   device usage, and pages visited). 13 This target audience can be created by Meta, the advertiser, or a

10   combination of both.

11        59.      Sales of targeted advertising has been extremely successful for Meta, due, in large part, to

12   Meta’s ability to target people at a granular level because it can gather such a large array of personal

13   information across websites and social media platforms. “Among many possible target audiences, [Meta]

14   offers advertisers, [for example,] 1.5 million people ‘whose activity on Facebook suggests that they’re

15   more likely to engage with/distribute liberal political content’ and nearly seven million Facebook users

16   who ‘prefer high-value goods in Mexico.’” 14

17        60.      Given the highly detailed level of data used to target specific users, it is no surprise that

18   Meta’s advertising segment quickly became its most successful business unit with millions of companies

19   and individuals utilizing Meta’s advertising services.

20        61.      By 2009, Meta derived $761 million through its advertising business. The business growth

21   was exponential – just ten years later, Meta’s revenue from advertising would increase by nearly 100

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     11
        Cecile Ho, Announcing Facebook Pixel (Oct. 14, 2015),
23   https://developers.facebook.com/ads/blog/post/v2/2015/10/14/announcing-facebook-pixel/
24   12
        Meta, Help your ads find the people who will love your business,
25   https://www.facebook.com/business/ads/ad-targeting.
     13
26     Meta, Facebook IQ, Audience Insights, https://www.facebook.com/business/insights/tools/audience-
     insights?ref=fbb_choose_audience.
27   14
        Natasha Singer, What You Don’t Know About How Facebook Uses Your Data (Apr. 11 2018),
28   https://www.nytimes.com/2018/04/11/technology/facebook-privacy-hearings.html.

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 1   times.

 2         62.       Meta’s revenue is derived almost entirely from selling targeted advertising that appears

 3   on its social media platforms, targeting platform users and targeting all Internet users on non-Meta sites

 4   that integrate Meta Pixel on their websites.

 5         63.       Facebook Business is the division that provides advertising services to developers.

 6   Facebook Business and the advertising tools it provides to developers are focused on trade and

 7   commerce.

 8         64.       The Meta Pixel, a product for Facebook Business, is a “piece of code” that lets developers

 9   “measure, optimize and build audiences for . . . ad campaigns.” 15

10         65.       The Meta Pixel is an invisible 1x1 web bug that Meta makes available to web-developers

11   to help track ad-driven activity from Meta and others on their website.

12         66.       Key features of the Meta Pixel include its ability to help developers:

13                 a. “Measure cross-device conversions” and “understand how your cross-device ads

14                    help influence conversion”;

15                 b. “Optimize delivery to people likely to take action” and “ensure your ads are shown

16                    to the people most likely to take action”; and

17                 c. “Create custom audience from website visitors” and create “dynamic ads [to] help

18                    you automatically show website visitors the products they viewed on your website

19                    – or related ones.”

20         67.       Meta derives substantial revenue from selling targeted advertising aimed at custom and

21   lookalike audiences. It is able to do so because it aggregates data gathered by the Meta Pixel, and other

22   data gathered from the users of its social media platforms, matching all the information to the platform

23   user. The combination is an extremely granular database constructed of private information and used by

24   Meta to sell advertising.

25         68.       Meta describes the Meta Pixel as “a snippet of Javascript code” that “relies on Facebook

26   cookies, which enable [Facebook] to match … website visitors to their respective Facebook User

27   accounts.”

28   15
          https://www.facebook.com/business/learn/facebook-ads-pixel.
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 1         69.      Meta further explains “How the Facebook Pixel Works” 16

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 7         70.        Meta also provides instructions to set up the Pixel:

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18         71.        For a company or advertiser, once Meta Pixel is set up on a website, it tracks users as they

19   navigate through the website and logs which pages are visited, buttons clicked, the specific information

20   entered in forms, as well as “optional values” set by the website. 17

21         72.        Meta Pixel tracks this data from the website’s usage, regardless of whether the user is

22   logged into Facebook.

23                 d. Meta Encourages Companies to Use Pixel, Allowing Meta to Gather a Wide Range of

24                    Information

25         73.        Meta’s advertising, driven by Meta Pixel, is profitable, but it is more profitable the more

26   data it collects and the more websites within which it is embedded.

27   16
          Id.
28   17
          Meta Pixel (2022), https://developers.facebook.com/docs/meta-pixel/
                                                         -14-
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 1      74.        To ensure the pixel gathers the most data, Meta recommends the Pixel code be placed early

 2   in the coding for a webpage/website to ensure the user will be tracked:

 3

 4

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 8
        75.        By executing the code sooner, Meta has designed the Pixel such that Meta receives the
 9
     information about patient actions on the medical provider’s website and/or patient portal
10
     contemporaneously.
11
        76.        Because of its tracking capabilities, Meta Pixel was described as a means for website
12
     developers/owners to track information about internet traffic on their websites, including tracking when
13
     a user takes any action, including “adding an item to their shopping cart or making a purchase”:
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23
        77.        But for Meta, the Pixel acts as a conduit of information; it sends the information it
24
     collects to Meta through scripts running in the user’s internet browser. The information is sent in data
25
     packets labeled with PII, including the user’s IP address.
26

27

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 1      78.        If the user has a Facebook account, the collected data is linked by Meta to that Facebook

 2   account through various mechanisms, including third-party cookies, Facebook Cookies, or through

 3   matching identifying information collected through the Meta Pixel on the website.

 4      79.        When it comes to healthcare providers, specifically, as soon as a patient takes any action

 5   on a webpage which includes the Meta Pixel—such as clicking a button to register, login, or logout

 6   of a patient portal or to create an appointment—Meta’s source code commands the patient’s computing

 7   device to re-direct the content of the patient’s communication to Meta while the exchange of the

 8   communication between the patient and the medical provider is still occurring.

 9      80.        By design, Meta receives the content of a patient’s patient portal sign-in communication

10   immediately after the patient clicks the log-in button and before the medical provider receives it.

11      81.        In all cases, the content of the patient’s portal and appointment communications are re-

12   directed to Meta while the communications are still occurring.

13      82.        These include registration, login, logout, appointment set up/request, clicking links within

14   the patient portal (such as to call a provider), and any text-box type entries or messages and the entire

15   content of those entries. These can and do include things relating to conditions and treatments for health

16   issues/concerns.

17      83.        The cookies that Meta identifies patients with include, but are not necessarily limited to,

18   cookies named: c_user, datr, fr, and _fbp.

19      84.        The c_user cookie is a means of identification for Facebook users. The c_user cookie value

20   is the Facebook equivalent of a user identification number. Each Facebook user account has one—and

21   only one—unique c_user cookie. Facebook uses the c_user cookie to record user activities and

22   communications.

23      85.        A skilled computer user can obtain the c_user cookie value for any Facebook user by (1)

24   going to the user’s Facebook page, (2) right-clicking on their mouse, (3) selecting ‘View page source,’ (4)

25   executing a find (CTRL-F) function for “fb://profile,” and (5) copying the number value that appears after

26   “fb://profile” in the page source code of the target Facebook user’s page.

27      86.        It is even easier to find the Facebook account associated with a c_user cookie: one simply

28   needs to log-in to Facebook, and then type www.facebook.com/#, with # representing the c_user cookie
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 1   identifier. For example, the c_user cookie value for Mark Zuckerberg is 4. Logging in to Facebook and

 2   typing www.facebook.com/4 in the web browser retrieves Mark Zuckerberg’s Facebook page:

 3   www.facebook.com/zuck.

 4        87.        The Facebook datr cookie identifies the patient’s specific web browser from which the

 5   patient is sending the communication. It is an identifier that is unique to the patient’s specific web

 6   browser and is therefore a means of identification for Facebook users and Facebook tracks each and every

 7   datr cookie identifier associated with each of its users.

 8        88.        Meta purports to “hash” personal information, but through its matching and identification

 9   processes, it uses the personal information to connect the online and patient portal activity to the specific

10   Facebook account.

11        89.        This matching utilizing personal health information is purposeful and intentional so that

12   Meta can sell its targeted advertising at the most granular and personal level, making the embedding of

13   Meta Pixel on healthcare provider websites and within patient portals highly profitable for Meta.

14        90.        Further, a Facebook user can obtain a redacted list of all datr cookies associated with his

15   or her Facebook account from Facebook.

16        91.        Any Facebook user can view the specific datr cookie identifiers that Facebook has

17   associated with their account by using the Facebook Download Your Information tool.

18        92.        The Facebook fr cookie is an encrypted combination of the c_user and datr cookies. 18

19        93.        The Facebook _fbp cookie is a Facebook identifier that is set by Facebook source code

20   and associated with Defendant’s use of the Meta Pixel. The _fbp cookie is a Facebook cookie that

21   masquerades as a first-party cookie to evade third party cookie blockers and share data more directly

22   between a medical provider and Facebook.

23                e. Despite Knowing Meta Pixel Gathers Personal Health Information, Meta Publicly

24                   Acknowledged that Health-Based Advertising is Inappropriate.

25

26

27   18
        See Facebook Tracking Through Social Plug-ins: Technical Report prepared for the Belgian
28   Privacy Commission, Mar. 27, 2015, available at
     https://securehomes.esat.kuleuven.be/~gacar/fb_tracking/fb_pluginsv1.0.pdf.
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 1        94.        Meta was aware that incorporating Meta Pixel onto hospital websites would result in the

 2   Pixel gathering personal health information from Plaintiffs and the Class.

 3        95. On November 9, 2021, Facebook announced that it was removing the ability to target users on

 4           “topics people may perceive as sensitive, such as options referencing causes, organizations, or

 5           public figures that relate to health[.]” 19

 6        96. Facebook’s announcement was a public relations success:

 7                   Reuters published a story headlined “Facebook plans to remove thousands of

 8                   sensitive ad-targeting options” and lead the story with a sentence about

 9                   Facebook’s “plans to remove detailed ad-targeting options that refer to ‘sensitive’

10                   topics, such as ads based on interactions with content around … health[.]” 20

11        97.        Other news sources published similar articles.

12        98.        Despite these public declarations, no alterations were made to Meta Pixel’s embedded in

13   healthcare provider websites and patient portals and did not alter the collection processes for gathering

14   information from those private healthcare sources.

15        99.        Instead, the changes only applied to user’s interactions within the Meta platform.

16                                        CLASS ACTION ALLEGATIONS

17        100.       Plaintiffs file this as a class action on behalf of themselves and the following classes:

18                  Nationwide Class: All persons who are current or former patients of any
                    medical provider in the United States with web properties through which Meta
19                  acquired patient activity relating to medical provider websites or patient portals,
                    appointments, phone calls, and communications associated with patient portal
20
                    users, for which neither the medical provider nor Meta obtained a HIPAA
21                  consent, or any other valid consent, for the sharing, gathering, or use of
                    information subject to the HIPAA Privacy Rule.
22
                    North Carolina Subclass: All persons residing in North Carolina who are
23                  current or former patients of any medical provider in the United States with web
                    properties through which Meta acquired patient activity relating to medical
24
                    provider websites or patient portals, appointments, phone calls, and
25                  communications associated with patient portal users, for which neither the

26
     19
       https://www.facebook.com/business/news/removing-certain-ad-targeting-options-and-expanding-
27   our-ad-controls

28
     20
       https://www.reuters.com/technology/facebook-removes-target-options-advertisers-some-topics-2021-
     11-09/
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                  medical provider nor Meta obtained a HIPAA consent, or any other valid
 1                consent for the sharing, gathering, or use of information subject to the HIPAA
 2                Privacy Rule.

 3                Meta social media platform Subclass: All users of Meta’s social media
                  platforms who are current or former patients of any medical provider in the
 4                United States with web properties through which Facebook acquired patient
                  activity relating to medical provider websites or patient portals, appointments,
 5                phone calls, and communications associated with patient portal users, for which
 6                neither the medical provider nor Meta obtained a HIPAA consent, or any other
                  valid consent for the sharing, gathering, or use of information subject to the
 7                HIPAA Privacy Rule.

 8      101.       Excluded from the Class are the Court and its personnel and the Defendant and its officers,

 9   directors, employees, affiliates, legal representatives, predecessors, successors and assigns, and any

10   entity in which any of them have a controlling interest.

11      102.       Plaintiffs reserve the right to modify or amend the definition of the proposed class before

12   the Court determines whether certification is appropriate.

13      103.       The proposed Class meets the criteria for certification under Federal Rules of Civil

14   Procedure Rule 23(a), (b)(2), 23(b)(3), and (c)(4).

15      104.       Previous publicly-filed documents confirm the Meta Pixel has been implemented on at

16   least 664 healthcare provider websites with millions of patients. Accordingly, the members of the

17   Class are so numerous that joinder is impracticable. Class members may be identified from

18   Defendant’s records.

19      105.       Common questions of law and fact exist and predominate over questions affecting

20   individual members of the Class, including, but not limited to, the following:

21
               a. Whether the Meta Pixel is designed to send individually identifiable information to Meta
22
                   (formerly Facebook);
23
               b. Whether the Meta (formerly Facebook) Terms and Privacy Notice are valid contracts with
24
                   Class Members;
25
               c. Whether Meta breached the provision in its contract with Class Members that states that
26
                   Meta (formerly Facebook) will require “each of these partners to have lawful rights to
27
                   collect, use and share your data before providing any data to us.”
28
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 1             d. Whether Meta failed to act in good faith in performing under its contract with Class

 2                Members;

 3             e. Whether Meta failed to require medical providers to have lawful rights to share patient

 4                data with Meta before deploying the Meta Pixel;

 5             f. Whether Meta acquired the content of patient communications;

 6             g. Whether the Meta Pixel’s presence and use on medical provider websites where it discloses

 7                actions that patients take relating to patient portals, appointments, and phone calls to their

 8                medical providers is highly offensive;

 9             h. Whether Meta’s acquisition of the content of communications between patients and their

10                medical providers occurred contemporaneous to their making;

11             i. Whether Meta breached its contract with users;

12             j. Whether Class Members possess a legally protected interest in their personal health

13                information;

14             k. Whether Class Members maintained a reasonable expectation of privacy when providing

15                their personal health information to their healthcare providers and when communicating

16                with their healthcare providers online;

17             l. Whether Meta’s actions, as described above, constituted a serious invasion of privacy that

18                was an egregious breach of social norms, such that the breach was highly offensive to a

19                reasonable person;

20             m. Whether Class Members are entitled to damages and/or restitution, and if so, the method

21                of computing damages and/or restitution.

22             n. Whether the information at issue has economic value; and

23             o. Whether Meta unjustly profited from its collection of personal health information through

24                the Meta Pixel being embedded in healthcare provider websites and patient portals.

25      106.      Plaintiffs are members of the putative Classes and the claims asserted by Plaintiffs are

26   typical of the claims of the members of the putative Classes as the claims arise from the same wrongful

27   conduct by Facebook and the relief sought is common.

28      107.      Plaintiffs will fairly and adequately protect the interests of the members of the Class and
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 1   have retained counsel that are competent and experienced in class action litigation. Plaintiffs’ interests

 2   do not conflict with the interests of the other members of the putative Classes that they seek to represent.

 3   The Classes’ interests will be fairly and adequately protected by Plaintiffs and their counsel.

 4      108.       A class action is superior to any other available means for the fair and efficient adjudication

 5   of this controversy and no unusual difficulties are likely to be encountered in the management of this

 6   class action. Further, as the damages or other financial detriment suffered by Plaintiffs and other members

 7   of the Classes are relatively small compared to the burden and expense that would be required to

 8   individually litigate their claims against Meta, it would be impracticable for the Class members to

 9   individually seek redress from Meta for Meta’s wrongful conduct. This class action presents far fewer

10   management difficulties, and provides the benefits of single adjudication, economy of scale, and

11   comprehensive supervision by a single court.

12                                  STATUTE OF LIMITATIONS TOLLING

13      109.      Any applicable statutes of limitation have been tolled by Defendant’s knowing and active

14   concealment of the misrepresentations and omissions alleged herein. Through no fault or lack of

15   diligence, Plaintiffs and members of the Class were deceived and could not reasonably discover

16   Defendant’s deception and unlawful conduct.

17      110.      Plaintiffs and members of the Class did not discover and did not know of any facts that

18   would have caused a reasonable person to suspect that Defendant was acting unlawfully and in the

19   manner alleged herein.

20      111.      As alleged herein, the representations made by Meta were material to Plaintiffs and

21   members of the Class at all relevant times. Within the time period of any applicable statutes of limitation,

22   Plaintiffs and members of the Class could not have discovered through the exercise of reasonable

23   diligence the alleged wrongful conduct.

24      112.             Defendants had exclusive knowledge that Healthcare Defendants’                 websites

25   incorporated Meta Pixel yet failed to disclose that by interacting with the Meta Pixel-enabled

26   websites that Plaintiffs’ and Class members’ sensitive medical information would be collected, used, and

27   stored by Meta.

28      113.      At all times, Defendant is and was under a continuous duty to disclose to Plaintiffs and
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 1   members of the Class the true nature of the disclosures being made and the lack of an actual

 2   “requirement” before the data was shared with it.

 3      114.      Defendant knowingly, actively, affirmatively and/or negligently concealed the facts alleged

 4   herein. Plaintiffs and members of the Class reasonably relied on Defendant’s concealment.

 5      115.      For these reasons, all applicable statutes of limitation have been tolled based on the

 6   discovery rule and Defendant’s concealment, and Defendant is estopped from relying on any statutes

 7   of limitations in defense of this action.

 8                                               CAUSES OF ACTION

 9                                         FIRST CAUSE OF ACTION

10                                          BREACH OF CONTRACT

11                                                     All classes

12      115.       Plaintiffs re-allege and incorporate by reference all the allegations contained above.

13      116.       Plaintiffs and Class Members agreed to Meta’s Terms, Data Policy, and Cookies Policy at

14   the time of signing up for an account by clicking a box required to join Facebook.

15      117.       As this is method of agreement is considered a binding contract, Plaintiffs were bound by

16   the Meta Terms, Data Policy, and Cookies Policy.

17      118.       Plaintiffs and Class Members substantially performed their responsibilities under the

18   contract.

19      119.       One of Meta’s promises under the Data Policy, included that Meta (formerly Facebook)

20   required its “partners” to have “lawful rights to collect, use, and share your data.”

21      120.       Meta, however, breached its required performance by receiving information in violation of

22   HIPAA. Data that hospitals and health care providers did not secure required authorizations to release to

23   Meta.

24      121.       In turn, Meta, acting as its previous iteration, Facebook, did not confirm that any health

25   authorizations were garnered from its user, despite its previous contractual agreement to the contrary.

26      122.       Instead, Meta received the health care information, without any evidence of required

27   patient authorizations, and used said information to send targeted ads to Facebook users, like the Plaintiffs

28   and Class Members, in violation of contract, Terms of Service and Data Policy.
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 1       123.          In addition to the express breach, Meta violated an implied contract in that Facebook users

 2   reasonably expected Meta would not take actions that would violate the Plaintiffs’ right to privacy related

 3   to their personally identifiable health information.

 4       124.          As a direct and proximate result of Meta’s breach of the contract, Plaintiffs and Class

 5   Members did not receive the benefit of the contract and were damaged as a result, in an amount to be

 6   proven at trial

 7                                          SECOND CAUSE OF ACTION

 8              BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

 9                                                      All classes

10       125.          Plaintiffs re-allege and incorporate by reference all the allegations contained above.

11       126.          A contract existed between Plaintiffs and Class Members and Meta when Plaintiffs clicked

12   the box required to join Facebook, which included the Data Policy that promised user that partners were

13   required to have lawful rights to share data.

14       127.          Plaintiffs substantially performed its responsibilities required by the Meta’s Terms, Data

15   Policy, and Cookies.

16       128.          Despite this, Meta’s use of unauthorized health information deprived Plaintiffs of receiving

17   the benefits received under the contract.

18       129.          By using unauthorized health care information, Defendant did not act fairly and did not act

19   in good faith.

20       130.          Accordingly, Plaintiffs have been injured as a result of Facebook’s breach of the covenant of

21   good faith and fair dealing and are entitled to damages and/or restitution in an amount to be proven at trial.

22                                           THIRD CAUSE OF ACTION

23                                             INVASION OF PRIVACY

24                                   CALIFORNIA CONSTITUTION, Art. 1, § 1

25                                                      All classes

26        131.         Plaintiffs re-allege and incorporate by reference all the allegations contained above.

27        132.         As part of HIPAA, Plaintiffs had a specific, legally protected privacy interest in their

28   personal health information.
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 1       133.      Meta promised, in its Data Policy, that it would require its partners to have the lawful right

 2   to collect and use data, providing Plaintiffs with a reasonable expectation to privacy on Meta platforms,

 3   specifically Facebook, in relation to the unauthorized use of their healthcare information.

 4       134.      Meta’s failure to follow its own Data Policy by using unauthorized health information

 5   constitutes a serious invasion of privacy to Plaintiffs.

 6       135.      As a result, Plaintiffs have been damaged in an amount to be proven at trial.

 7                                       FOURTH CAUSE OF ACTION

 8                                      INTRUSION UPON SECLUSION

 9                                                    All classes

10      136.       Plaintiffs re-allege and incorporate by reference all the allegations contained above.

11      137.       HIPAA protects people, like Plaintiffs, from having their private health care information

12   shared on a small or wide scale basis without the patient’s consent, which provides patients, like

13   Plaintiffs, to have privacy related to his or her health care information.

14      138.       Meta promised users in its Data Policy that it would require its partners to have the lawful

15   right to collect and use data, but Meta did not follow its own Data Policy, which previously lulled

16   Plaintiffs into the belief that private information would remain private.

17      139.       As a result, Meta, through its use of unauthorized health information, intruded into the

18   Plaintiffs’ private matters in a manner that is highly offensive to a reasonable person.

19      140.       Plaintiffs have therefore been damaged in an amount to be proven at trial.

20                                         FIFTH CAUSE OF ACTION

21                            VIOLATION OF THE FEDERAL WIRETAP ACT

22                                                18 U.S.C. § 2511

23                                                    All classes

24      141.       Plaintiffs re-allege and incorporate by reference all the allegations contained above.

25      142.       Through the use of the Meta Pixel, Meta (formerly Facebook) violated the Federal Wiretap

26   Act by intentionally intercepting communications between healthcare providers and Plaintiffs.

27      143.       Using Meta Pixel, Meta willfully learned (or tried to learn) the contents of private

28   conversations between Plaintiffs and their healthcare providers.
                                                       -24-
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 1      144.        This interception by Meta was intentional. Otherwise, Meta would not have encouraged

 2   healthcare providers to install Meta Pixels on their websites. Meta would not have encouraged healthcare

 3   providers to use data from Meta Pixels to create custom and lookalike audiences. Lastly, Meta did not

 4   take any actions to stop healthcare providers from transmitting patient medical information to Meta via

 5   Meta Pixels.

 6      145.        Plaintiffs have been injured because of Meta’s violations of the Federal Wiretap Act, in an

 7   amount to be proven at trial.

 8                                           SIXTH CAUSE OF ACTION

 9                  VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW

10                                   CAL. BUS. & PROF. CODE § 17200, et seq.

11                                                    All classes

12      146.        Plaintiffs re-allege and incorporate by reference all the allegations contained above.

13      147.        This claim is pled in the alternative.

14      148.        California’s Unfair Competition Law prohibits conduct that is unlawful, fraudulent, and/or

15   unfair. For the reasons set forth above, each of the prongs is satisfied here. Meta violated existing law,

16   Meta engaged in conduct likely to deceive a reasonable consumer, Meta’s conduct violates established

17   public policy regarding the protection of healthcare information, and the harm inflicted on consumers is

18   not outweighed by any legitimate benefit to competition.

19      149.        There is no adequate remedy at law.

20      150.        Defendant Meta engaged in unlawful business acts when it intercepted Plaintiffs’ private

21   communications with their Healthcare providers.

22      151.        Plaintiffs were injured as a result of Meta’s unlawful acts, which also violated the

23   California Invasion of Privacy Act and the Federal Wiretap Act.

24      152.        Plaintiffs were injured as a result of Meta’s unlawful and deceptive actions.

25      153.        Plaintiffs seek restitution for monies unlawfully obtained, injunctive relief, and any other

26   relief allowable under the California Business & Professions Code § 17203, including, but not limited to,

27   enjoining Defendant from continuing to engage in its unlawful conduct as alleged.

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 1                                      SEVENTH CAUSE OF ACTION

 2                                   NEGLIGENT MISREPRESENTATION

 3                                                   All classes

 4      154.        Plaintiffs re-allege and incorporate by reference all the allegations contained above.

 5      155.        Meta represented to Plaintiffs that before it would receive confidential information about

 6   Plaintiffs, that it would require its “partners” to have “to have lawful rights to collect, use, and share

 7   [Plaintiffs’] data before providing any data” to Meta, formerly Facebook.

 8      156.        Meta did not follow through with its representations and did not take steps to ensure its

 9   representations were true.

10      157.        Meta, however, did intend that Plaintiffs rely on the representation, as it was part of Meta’s

11   Data Policy.

12      158.        Plaintiffs reasonably relied on Meta’s representation and as a result were injured in an

13   amount to be proven at trial.

14                                           PRAYER FOR RELIEF

15         WHEREFORE, Plaintiffs, on behalf of themselves and the Class, seek the following relief:

16         a. Certification of the proposed Class, designating Plaintiffs John Doe 1 and John Doe 2 as the

17             representatives of the Class, and designating undersigned counsel as Class Counsel.

18         b. Award damages, including actual damages, compensatory damages, benefit of the bargain

19             damages, and nominal damages.

20         c. Disgorgement of profits.

21         d. Restitution.

22         e. Punitive and Exemplary Damages.

23         f. Statutory Damages, where provided by law.

24         g. Attorneys’ fees.

25         h. Reasonable costs incurred with this action, including costs for expert witness fees and other

26             costs as provided by law.

27         i. Interest.

28         j. Equitable and declaratory relief.
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 1       k. Injunctive Relief.

 2       l. Any other relief available under the claims brought by Plaintiffs.

 3       m. Any other relief that this Court deems just and proper.

 4                                          JURY TRIAL DEMAND

 5       Plaintiffs hereby requests a jury trial for all issues so triable.

 6

 7   DATED:      October 28, 2022                 Respectfully submitted,
                                                   /s/ Jennie Lee Anderson_________
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 9                                                 Lori E. Andrus (SBN 205816)
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22                                                  Counsel for Plaintiffs and the Proposed Classes

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